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                                         UNITED STATES BANKRUPTCY COURT
                                                                 Southern District of Texas, Houston Division

In re          Corey Waller                                                                                             Case Number             1239058


                                                   TRANSFER OF CLAIM OTHER THAN FOR SECURITY

                         A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
                         hereby gives evidence and notice pursuant to Rule 3001(e)(4), Fed. R. Bankr. P., of the transfer, other
                         than for security, of the claim referenced in this evidence and notice.

        MTGLQ Investors, L.P.                                                                          JPMorgan Chase Bank



                                 Name of Transferee                                                                     Name of Transferor

        Name and Address where notices to transferee should be sent:                                   Court Claim # (if known):            5
                                                                                                       Amount of Claim:                                   $282,396.41
        Shellpoint Mortgage Servicing
        PO BOX 10826                                                                                   Date Claim Filed:                                   04/15/2013
        Greenville, SC 29603-0826
                                                                                                       Phone:
                                                                                                       Last Four Digits of Acct #:              6543

        Phone:     (800) 365-7107
        Last Four Digits of Acct #:             1248

        Name and Address where payments to transferee should be sent (if
        different from above):

        Shellpoint Mortgage Servicing




        Phone:     (800) 365-7107
        Last Four Digits of Acct #: 1248

        Same as above




        I declare under penalty of perjury that the information provided in this notice is true and correct to the
        best of my knowledge and belief .
        By:        /s/ Sharon Solis                                                                    Date:      03/01/2016


        Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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Shellpoint Mortgage Servicing                             Phone Number:             (800) 365-7107
PO BOX 10826                                              Fax:                      (866) 467-1137
Greenville, SC 29603-0826
                                                          Email:     mtgbk@shellpointmtg.com



RE: Corey Waller
Case No: 1239058

PROOF OF SERVICE

I certify that a copy of the foregoing documents were served upon the following persons electronically or by mail via the U.S. Postal
Service, postage prepaid or by personal delivery, at their scheduled addresses on this day, 3/1/2016.


Southern District of Texas, Houston Division
P.O. Box 61010
Houston, TX 77208



William Heitkamp
9821 Katy Freeway, #590
Houston, TX 77024



Kenneth A Keeling
3310 Katy Freeway Ste 200

Houston, TX 77007-




/s/ Sharon Solis
